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MAY 2 2 2009
at 9:30 IN THE UNITED STATES DISTRICT COURT
WILLIAM J. WALSH OF NEW JERSEY

QTICON, INC.,

Plaintiff,

v. Civil Action No. 3:08-cv-05480 FLW

VIVATONE HEARING SYSTEMS, LLC
and

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SEBOTEK HEARING SYSTEMS, LLC)
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Defendants.

 

FIRST AMENDED PRETRIAL SCHEDULING ORDER

 

This matter having come before the Court during a telephone conference on May
42, 2009, and the parties having agreed to an extension of future deadlines;

It is on this 10 Gay of May, 2009,

ORDERED THAT:

The following numbered paragraphs in the original Pretrial Scheduling Order are

replaced with the dates reflected hereinbelow:

8. In accordance with L.Pat.R. 4.2, on July 27, 2009, the parties shall
simultaneously exchange preliminary proposed constructions of each term
identified by any party for claim construction. At that time, each party shall also
identify in the manner set forth in L.Pat.R. 4.2(b) all references from the
specification or prosecution history that support its preliminary proposed
construction and designate any supporting extrinsic evidence, including, without
limitation, dictionary definitions, citations to learned treatises and prior art and
testimony of all witnesses including expert witnesses.

9. By August 28, 2008, the parties shall complete and file a Joint Claim
Construction and Prehearing Statement, which shall contain the information set
forth in L.Pat.R. 4.3.

10. By September 28, 2009, the parties shall complete all discovery
relating to claim construction, Inc uding any depositions with respect to claim
construction of any witnesses, other than experts, identified In the Preliminary

Claim Construction Statement (L.PatR. 4.2) or Joint Claim Construction and
Prehearing Statement (L.Pat.R. 4.3).

 

 
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41. In accordance with L.Pat.R. 4.5(a), by October 13, 2009, the parties
shall contemporaneously file and serve their opening Markman b efs and any

evidence supporting claim construction, including experts’ certifications or
declarations.

12. In accordance with L.Pat.R. 4.5(b), by November_11, 2098, any
discovery from an expert witness who submitted a certification or eclaration
under L.Pat.R. 4.5(a) shall be concluded.
43. In accordance with L.Pat.R. 4.5(c), by December 14, 2008, the parties
shall contemporaneously file and serve respon ing Markman brie and any
evidence supporting claim construction, including any responding experts’
certifications or declarations.

14. As set forth in L.Pat.R. 4.6, by December 28, 2009, counsel shall
confer and propose to the Court a schedule for a Claim Construction Hearing.

The terms of the remaining paragraphs of the original Pretrial Scheduling Order

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Z Magistrate Judge

shall remain in effect.

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